Case 2:22-cv-10849-SKD-DRG ECF No. 64, PageID.336 Filed 04/24/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

KELLY KEY,

                             Plaintiff,            Civil Action No. 22-10849

v.                                                 F. Kay Behm
                                                   United States District Judge

CITY OF DETROIT,                                   David R. Grand
                                                   United States Magistrate Judge

                      Defendants.
__________________________________/

                      ORDER DENYING PLAINTIFF’S
                “MOTION FOR CHANGE OF VENUE” (ECF No. 48)

       On April 20, 2022, pro se1 plaintiff Kelly Key (“Key”) commenced this

employment discrimination/harassment action against the City of Detroit (“City”). (ECF

No. 1). Pursuant to 28 U.S.C. § 636(b), all non-dispositive pretrial matters have been

referred to the undersigned. (ECF No. 38).

       Now pending before the Court is Key’s “Motion for Change of Venue.” (ECF No.

48). In his “motion,” Key asks only that the Court issue him “a change of venue form[.]”

(Id., PageID.269). However, there is no such form to be issued. To the extent Key desires

to move for a change of venue in this case, such a motion must be filed pursuant to the

applicable statutory provision and/or court rule and accompanied by properly supported



1
  At the time of the filing of his complaint, Key was represented by counsel. Recently, however,
the Honorable F. Kay Behm entered an order granting Key’s attorney’s motion to withdraw as
counsel. (ECF No. 18). Thus, Key is now proceeding pro se in this case.
Case 2:22-cv-10849-SKD-DRG ECF No. 64, PageID.337 Filed 04/24/23 Page 2 of 2




argument and evidence. At this point in time, there is simply no basis for the Court to

provide the relief requested.

       For the foregoing reasons, Key’s Motion for Change of Venue (ECF No. 48) is

DENIED.

       IT IS SO ORDERED.


Dated: April 24, 2023                            s/David R. Grand
Ann Arbor, Michigan                              DAVID R. GRAND
                                                 United States Magistrate Judge


                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of
record and any unrepresented parties via the Court’s ECF System to their respective email
or First Class U.S. mail addresses disclosed on the Notice of Electronic Filing on April 24,
2023.

                                                 s/Eddrey O. Butts
                                                 EDDREY O. BUTTS
                                                 Case Manager




                                             2
